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               Exhibit 3
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NYC DEPARTMENT OF FINANCE
OFFICE OF THE CITY REGISTER

This page is part of the instrument. The City
Register will rely on the information provided
by you on this page for purposes of indexing
this instrument. The information on this page
will control for indexing purposes in the event
of any conflict with the rest of the document.
                                                                 2012080800069001002ECB4A
                           RECORDING AND ENDORSEMENT COVER PAGE                       PAGE 1 OF 5
Document ID: 2012080800069001       Document Date: 05-03-2012            Preparation Date: 08-08-2012
Document Type: MEMORANDUM OF LEASE
Document Page Count: 4
PRESENTER:                                      RETURN TO:
TO BE PICKED UP BY COMMONWEALTH                 TO BE PICKED UP BY COMMONWEALTH
COMMONWEALTH LAND TITLE INSURANCE CO.           SULLIVAN & WORCHESTER LLP
140 EAST 45TH STREET, 22ND FLOOR                1290 AVENUE OF THE AMERICAS
NEW YORK, NY 10017                              NEW YORK, NY 10104
212-949-0100                                    Attn: Cyril Derzie, Esq.
gregoryshaw@cltic.com/NY120258 M

                                      PROPERTY DATA
Borough         Block Lot             Unit Address
MANHATTAN        1037 36   Entire Lot      767 8 AVENUE
        Property Type: COMMERCIAL REAL ESTATE




                                                  CROSS REFERENCE DATA
CRFN: 2008000143676

                                                            PARTIES
LESSOR:                                                        LESSEE:
767 8TH AVENUE LLC                                             SHERMAN MANAGEMENT LLC
302 WEST 47TH STREET                                           302 WEST 47TH STREET
NEW YORK, NY 10036                                             NEW YORK, NY 10036


                                                      FEES AND TAXES
Mortgage                                                     Filing Fee:
Mortgage Amount:                   $                 0.00                                           $                        100.00
Taxable Mortgage Amount:           $                 0.00    NYC Real Property Transfer Tax:
Exemption:                                                                                          $                          0.00
TAXES: County (Basic):             $                 0.00    NYS Real Estate Transfer Tax:
          City (Additional):       $                 0.00                                           $                          0.00
          Spec (Additional):       $                 0.00                           RECORDED OR FILED IN THE OFFICE
          TASF:                    $                 0.00          0 10*- )r -'1"         OF THE CITY REGISTER OF THE
          MTA:                     $                 0.00        '"               .: , . zi•k„  CITY OF NEW YORK
          NYCTA:                   $                 0.00                     '      -QA       Recorded/Filed          08-20-2012 16:03
          Additional MRT:          $                 0.00      •
                                                              -1    ,
                                                                    ,.., •            .,. -'   City Register File No.(CRFN):
                 TOTAL:            $                 0.00         • , : . ;                  ,                      2012000330546
                                                                                . .
 Recording Fee:                    $                57.00                  :4. J17—
 Affidavit Fee:                    $                 0.00                         ,

                                                                                            City Register Official Signature
   Case 1:21-cv-04913-PGG Document 1-3 Filed 06/03/21 Page 3 of 6




        /1.A.A

RECORDING REQUESTED BY AND
WHEN RECORDED MAILED TO:

Sullivan & Worcester LLP
1290 Avenue of the Americas
New York, New York 10104
Attn: Cyril Derzie, Esq.



                             AMENDED AND RESTATED
                             MEMORANDUM OF LEASE


         Pursuant to that certain Commercial Ground Lease, dated as of May       , 2012
(the  "Lease"), 767  8th Avenue   LLC, a Delaware  limited  liability company, aving an
address at Sherman Equities, 302 West 47th Street, New York, New York 10036
("Lessor"), has agreed to lease to Sherman Management LLC, a Delaware limited
liability company, having an address at 302 West 47th Street, New York, New York
10036, that certain real property situated in the State, City and County of New York,
more particularly described on Exhibit A attached hereto.

        This Amended and Restated Memorandum of Lease is prepared for the purpose of
recordation and imparting notice of the Lease, and is not intended to, nor shall it in any
way, modify the Lease. In the event of any conflict between the provisions of this
Memorandum of Lease and the provisions of the Lease, the provisions of the Lease shall
control.

        The term of the Lease shall expire on May : 1) , 2032 unless terminated by Lessor
in accordance with the terms of the Lease.

       This Amended and Restated Memorandum of Lease amends, restates and
supersedes, in all respects and in its entirety, that certain Memorandum of Lease, dated as
of March 21, 2008, between Lessor and Lesse and recorded in the City Register's Office
of New York County on April 10, 2008 as CRFN: 2008000143676.

                             [Signatures on following page]




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Dated as of May    , 2012.


767 8th AVENUE LLC,                    SHERMAN MANAGEMENT LLC,
a Delaware limited liability company   a Delaware limited liability company

By: 767 Holding Corp.,                 By: Sherman Equities Inc.,
    a New York corporation,                    ew York corporation,
     ts sole member and manager               s•
                                            ts le member and manager

              V Nit                    By:
   Name: Joginder Sharma                      ame: Joginder Sharma
   Title: President                          Title: President
   Case 1:21-cv-04913-PGG Document 1-3 Filed 06/03/21 Page 5 of 6




STATE OF NEW YORK
                                               ss.:
COUNTY OF NEW YORK

       On this 31° day of May, in the year 2012, before me, the undersigned, a Notary
Public in and for said State, personally appeared JOGINDER SHARMA, personally
known to me or proved to me on the basis of satisfactory evidence to be the individual
whose name is subscribed to the within instrument and acknowledged to me that he
executed the same in his capacity, and that by his signature on the instrument, the
individ • 1 or the,f erson on be y alf of which the individual acted, executed the instrument.



               Notary Pu



STATE OF NEW YORK

COUNTY OF NEW YORK

       On this —3 day of May, in the year 2012, before me, the undersigned, a Notary
Public in and for said State, personally appeared JOGINDER SHARMA, personally
known to me or proved to me on the basis of satisfactory evidence to be the individual
whose name is subscribed to the within instrument and acknowledged to me that he
executed the same in his capacity, and that by his signature on the instrument, the
individuaJr the person orytbehalf of which th    victual acted, executed the instrument.


                 okary Public

                             New York
              No. 02DE6127675
   Case 1:21-cv-04913-PGG Document 1-3 Filed 06/03/21 Page 6 of 6




                                    Exhibit A

ALL




Tax Map Designation: Section 4, Block 1037, Lot 36.
